         Case 1:21-cv-02296-RBW Document 45 Filed 08/24/21 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
 MY PILLOW, INC.,
                Plaintiff,                               Case No. 21-cv-01015
         vs.
 US DOMINION, INC., DOMINION
 VOTING SYSTEMS, INC., and
 DOMINION VOTING SYSTEMS
 CORPORATION,
                Defendants.
  and

 MICHAEL J. LINDELL,
                Plaintiff,
         vs.
                                                         Case No. 21-cv-01332
 US DOMINION, INC., DOMINION
 VOTING SYSTEMS, INC., DOMINION
 VOTING SYSTEMS CORPORATION,
 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,
                Defendants.

                  UNOPPOSED MOTION TO TRANSFER
    TO THE U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

        Defendants U.S. Dominion, Inc., Dominion Voting Systems, Inc. and Dominion

Voting Systems Corporation (collectively, “Dominion”) and Smartmatic USA Corp.,

Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation

Limited (collectively, “Smartmatic”) jointly move the Court to transfer the above-

captioned cases under 28 U.S.C. § 1404 to the U.S. District Court for the District of

Columbia, where there is a pending case between Dominion and My Pillow, Inc. (“My




980064
         Case 1:21-cv-02296-RBW Document 45 Filed 08/24/21 Page 2 of 3




Pillow”), and Michael J. Lindell.1 My Pillow and Lindell have informed Dominion and

Smartmatic that, based on the Stipulation between the parties and the reservation of rights

therein (attached as Exhibit A), they do not oppose the motion.

Dated: August 24, 2021

                                FAEGRE DRINKER BIDDLE & REATH LLP

                                /s/ John W. Ursu
                                John W. Ursu (#032257)
                                Deborah A. Ellingboe (#026216)
                                Jeffrey P. Justman (#0390413)
                                Erica Abshez Moran (#0400606)
                                2200 Wells Fargo Center
                                90 South Seventh Street
                                Minneapolis, MN 55402-3901
                                Telephone: (612) 766-7000
                                Fax: (612) 766-1600
                                john.ursu@faegredrinker.com
                                debbie.ellingboe@faegredrinker.com
                                jeff.justman@faegredrinker.com
                                erica.moran@faegredrinker.com
                                Laranda M. Walker (admitted pro hac vice)
                                SUSMAN GODFREY LLP
                                1000 Louisiana Street, #5100
                                Houston, Texas 77002
                                (713) 651-9366
                                lwalker@susmangodfrey.com
                                Stephen Shackelford, Jr. (admitted pro hac vice)
                                SUSMAN GODFREY LLP
                                1301 Avenue of the Americas, 32nd Floor
                                New York, NY 10019
                                (212) 336-8330
                                sshackelford@susmangodfrey.com
                                Attorneys for Defendants US Dominion, Inc., Dominion
                                Voting Systems, Inc., and Dominion Voting Systems
                                Corporation




       1 Dominion   and Smartmatic file this unopposed motion pursuant to the Court’s discussion
with the parties during the August 20, 2021 status conference held in these cases and the parties’
stipulation following that status conference. Dominion and Smartmatic expressly reserve their rights
to move to dismiss My Pillow’s and Lindell’s complaints on any grounds, including, but not limited
to, Rule 12(b)(6).
                                                 2
Case 1:21-cv-02296-RBW Document 45 Filed 08/24/21 Page 3 of 3




                  ROBINS KAPLAN LLP
                  /s/ William E. Manske
                  Christopher K. Larus
                  Minnesota State Bar No. 0226828
                  William E. Manske
                  Minnesota State Bar No. 0392348
                  800 LaSalle Avenue, Suite 2800
                  Minneapolis, Minnesota 55402
                  Telephone: 612.349.8500
                  Email: clarus@robinskaplan.com
                  J. Erik Connolly
                  Illinois ARDC No. No. 6269558
                  Nicole E. Wrigley
                  Illinois ARDC No. No. 6278749
                  Martin V. Sinclair, Jr.
                  Illinois ARDC No. No. 6287402
                  BENESCH, FRIEDLANDER, COPLAN & ARONOFF
                  LLP
                  71 South Wacker Drive, Suite 1600
                  Chicago, Illinois 60606-4637
                  Telephone: 312.212.4949
                  Email: msinclair@beneschlaw.com
                  Counsel for Defendants Smartmatic USA Corp.,
                  Smartmatic International Holding B.V., and SGO
                  Corporation Limited




                                3
